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               BRYANT LOVLIEN & JARVIS, PC
               Mark G. Reinecke (OSB #914073) (reinecke@bljlawyers.com)
               591 SW Mill View Way
               Bend, OR 97702
               Telephone: (541) 382-4331
               Facsimile: (541) 389-3386

               COOLEY LLP
               John Hemann (CASB #165823) (jhemann@cooley.com)
               (pro hac vice)
               101 California Street
               5th Floor
               San Francisco, CA 94111-5800
               Telephone: (415) 693-2000
               Facsimile: (415) 693-2222

               Alexander Galicki (CASB #308737) (agalicki@cooley.com)
               (pro hac vice)
               1333 2nd Street, Suite 400
               Santa Monica, CA 90401
               Telephone: (310) 883-6400
               Facsimile: (310) 883-6500

                 Attorneys for Plaintiff
                                                 UNITED STATES DISTRICT COURT

                                                     DISTRICT OF OREGON

               CENTRAL OREGON COMMUNITY                          Case No. 6:20-cv-00594-MK
               COLLEGE,
                                                                 PLAINTIFF’S UNOPPOSED
                                    Plaintiff,                   MOTION TO DISMISS WITHOUT
                                                                 PREJUDICE UNDER FRCP 41(A)(2)
                        v.

               UNITED STATES DEPARTMENT OF
               VETERANS AFFAIRS; DENNIS R.
               MCDONOUGH, in his official capacity as
               Secretary of the United States Department of
               Veterans Affairs; UNITED STATES
               DEPARTMENT OF THE TREASURY;
               JANET YELLEN, in her official capacity as
               Secretary of the United States Department of
               the Treasury; BUREAU OF THE FISCAL
               SERVICE, UNITED STATES
               DEPARTMENT OF THE TREASURY; and
               TIMOTHY GRIBBEN, in his official
               capacity as Commissioner of the Bureau of
               the Fiscal Service, United States Department
               of the Treasury,

                                    Defendants.


  COOLEY LLP
ATTORNEYS AT LAW                                                                          MOTION TO DISMISS
 SAN FRANCISCO                                                                          UNDER FRCP 41(A)(2)
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                                    CERTIFICATE OF COMPLIANCE WITH LR 7-1

                      Counsel for Plaintiff certifies he conferred with Defendants’ counsel, Patrick Conti,

               regarding this motion and that Defendants do not oppose the Motion.

                                                           MOTION

                      Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff Central Oregon Community

               College (“Plaintiff”) moves for the Court to enter an order dismissing this action without prejudice,

               and requests that the Court’s order expressly requires the Parties to comply with the terms of the

               Parties’ settlement agreement for one hundred-twenty (120) days from the agreement’s effective

               date of September 20, 2021 or until the prehearing conference referred to in § 1.2(b) of the

               settlement agreement has occurred, whichever is sooner.

                                                       MEMORANDUM

                      The Parties have entered into a settlement agreement attached hereto as Exhibit 1 (the

               “Settlement Agreement”). Because the Parties have settled this case, Plaintiff requests that the

               Court enter an order dismissing this action without prejudice. Further, Section 2.4 of the

               Settlement Agreement provides: “Continuing Jurisdiction. The Parties agree that the United

               States District Court for the District of Oregon has jurisdiction over an action by either Party to

               enforce the terms of this Settlement Agreement for one hundred-twenty (120) days from the

               Effective Date or until the prehearing conference referred to in § 1.2(b) has occurred, whichever

               is sooner.” As such, Plaintiff asks that the Court’s order of dismissal without prejudice is

               contingent on the Court’s retention of jurisdiction to enforce the terms of the Settlement

               Agreement for one hundred-twenty (120) days from the agreement’s effective date of September

               20, 2021 or until the prehearing conference referred to in § 1.2(b) of the settlement agreement has

               occurred, whichever is sooner.

                      Federal Rule of Civil Procedure 41(a)(2) provides that “an action may be dismissed at the

               plaintiff’s request only by court order, on terms that the court considers proper.” Fed. R. Civ. P.

               41(a)(2). See also Nw. Env. Defense Ctr. v. Allen, 2007 WL 1746333, at *4 (D. Ore. 2007).

               Approval of a motion to dismiss under Rule 41(a)(2) lies within the sound discretion of the Court,

  COOLEY LLP
                                                                                                 MOTION TO DISMISS
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                                                                1.                              UNDER FRCP 41(A)(2)
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               and includes weighing “all relevant equities.” Burnette v. Godshall, 828 F. Supp. 1439, 1444

               (N.D. Cal. 1993), aff’d, 72 F.3d 766 (9th Cir. 1995). Pursuant to Rule 41(a)(2), “the court has

               discretion to dismiss the case through an order and to specify the terms of that dismissal.” Anago

               Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1279 (11th Cir. 2012). As the Supreme Court of

               the United States has explained:

                      If the parties wish to provide for the court’s enforcement of a dismissal-producing
                      settlement agreement, they can seek to do so. When the dismissal is pursuant
                      to Federal Rule of Civil Procedure 41(a)(2) ... the parties’ compliance with the
                      terms of the settlement contract (or the court's “retention of jurisdiction” over the
                      settlement contract) may, in the court’s discretion, be one of the terms set forth in
                      the order. In that event, a breach of the agreement would be a violation of the order,
                      and ancillary jurisdiction to enforce the agreement would therefore exist.

               Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994).

                      Moreover, motions to dismiss under Rule 41(a)(2) should be freely granted unless the non-

               moving party will suffer some plain legal prejudice other than the mere prospect of a second

               lawsuit. See Robles v. Atlantic Sounding Co., Inc., 77 F. App’x 274, 275 (5th Cir. 2003). Here,

               there is no possible legal prejudice to the Defendants by the Court retaining jurisdiction to enforce

               the settlement agreement for a limited period of time given that the Defendants freely entered into

               the Settlement Agreement and do not oppose the Motion.

                      WHEREFORE, Plaintiff requests that this matter be dismissed without prejudice under

               Federal Rule of Civil Procedure 41(a)(2) contingent on the Court’s retention of jurisdiction to

               enforce the terms of the Settlement Agreement for one hundred-twenty (120) days from the

               agreement’s effective date of September 20, 2021 or until the prehearing conference referred to in

               § 1.2(b) of the settlement agreement has occurred, whichever is sooner.




  COOLEY LLP
                                                                                                 MOTION TO DISMISS
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 SAN FRANCISCO
                                                                2.                              UNDER FRCP 41(A)(2)
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               Dated: September 21, 2021           Respectively Submitted,

                                                   BRYAN LOVELIEN & JARVIS PC


                                                            /s/ John Hemann
                                                              John Hemann (he/him)

                                                   MARK G. REINECKE (OSB #914073)
                                                   (reinecke@bljlawyers.com)
                                                   591 SW Mill View Way
                                                   Bend, OR 97702
                                                   Telephone: (541) 382-4331
                                                   Facsimile: (541) 389-3386

                                                   Cooley LLP
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                                                   (jhemann@cooley.com) (pro hac vice)
                                                   3 Embarcadero Center, 20th Floor
                                                   San Francisco, CA 94111-4004
                                                   Telephone: (415) 693-2000
                                                   Facsimile: (415) 693-2222

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                                                   1333 2nd Street, Suite 400
                                                   Santa Monica, CA 90401
                                                   Telephone (310) 883-6400
                                                   Facsimile: (310) 883-6500

                                                   Attorneys for Plaintiff




  COOLEY LLP
                                                                                  MOTION TO DISMISS
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                     3.                          UNDER FRCP 41(A)(2)
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                Exhibit 1
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                                                                                  EXECUTION VERSION


                               SETTLEMENT AGREEMENT AND RELEASE

         THIS SETTLEMENT AGREEMENT AND RELEASE (                                ) is entered into between
plaintiff Central Oregon Community College (                 ) and defendants United States Department of
                      VA                                                      Defendants ) (Plaintiffs and
Defendants collectively,                 or singularly,         ) as of the date the last Party signs this
Agreement (the                      ). Except as otherwise specified, defined terms shall have the meanings
set forth in the Recitals section of this Settlement.

                                                RECITALS

         A.      Beginning in January 2018, VA alleged that Plaintiff owed debts to VA on account of
tuition payments VA made to Plaintiff on                                       Tuition Debt
attached hereto specifies the Tuition Debt VA alleges is owed per student by identifying the dates of (i) the
                                                                    e amount VA alleges is owed for tuition
payments. For the avoidance of doubt, Plaintiff does not concede the accuracy of Exhibit A. In November
2018, VA also alleged that Plaintiff owed debts to VA on account of payments VA made to students
                                                                   Books and Housing Debt
and Housing Debt was alleged based on a portion of the courses offered by, and/or actions taken by, Plaintiff
that were the basis for the Tuition Debt alleged in Exhibit A.

        B.   The Parties concur that the Books and Housing Debt should be and has been referred to the
                              CSL
CSL. VA disagrees.

        C.        On or about April 10, 2020, Plaintiff filed a
                                              Court            Central Oregon Community College v. United
States Department of Treasury, et al., Civil Case No. 6:20-cv-00594-MK ( Action ). Plaintiff asserted
three claims for relief for alleged violations of (1) the Administrative Procedure Act, 5 U.S.C. §§ 706, et
seq., and (2) the Due Process Clause of the Fifth Amendment, United States Constitution. Shortly after
Plaintiff filed the Action, counsel for the Parties began to meet and confer in attempt to resolve the Action
without additional litigation. To facilitate that end, on June 29, 2020, Plaintiff filed an Unopposed Motion
for an Extension of Time to Serve the Complaint on Defendants. The Court granted that Motion on June
30, 2020, and later similar such Motions on September 10, 2020, December 9, 2020, February 16, 2021,
and April 16, 2021. Plaintiff served the Complaint on Defendants on June 1, 2021. On July 20, 2021,
Defendants filed an Unopposed Motion for an Extension of Time to Answer the Complaint, which the Court
granted on July 21, 2021.

         D.      At all times, Defendants have denied and continue to deny any wrongdoing and deny that
they committed, threatened, or attempted to commit, any of the wrongful acts or violations of law or duty
that are alleged by Plaintiff, including denial of Plaint                        ition Debt to the CSL, and
instead contend that Defendants have acted properly. Nonetheless, as the Books and Housing Debt has
been submitted to the CSL and because of the uncertainty and risks inherent in litigation, Defendants have
concluded in the interests of avoiding further litigation and as a matter of convenience, VA will agree to
the Tuition Debt also being referred to the CSL. Therefore, Defendants have concluded that it is desirable
and beneficial to fully and finally settle and terminate the Action in the manner and upon the terms and
conditions set forth in this Agreement.

        E.     Plaintiff believes that Defendants violated its rights as alleged in the Complaint and
otherwise since the filing of that Complaint, and that it would prevail if this case proceeded to final
adjudication. Nonetheless, Plaintiff has also taken into account the uncertain outcome and risks inherent
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in litigation, especially in complex actions, as well as the difficulties and delays inherent in such litigation.
Based on its evaluation, Plaintiff has concluded that the terms and conditions of this Agreement are fair and
reasonable, and that it is in its best interests to settle the claims raised in the Action upon the terms and
conditions set forth in this Agreement.

                                                 AGREEMENT

        Now, therefore, in light of the foregoing recitals, and the following terms and conditions, and for
good and valuable consideration, receipt of which is hereby acknowledged, the Parties hereby covenant
and agree as follows:

        1.       PROCEDURAL RELIEF AND LIABILITY REDUCTION.

                1.1      Plaintiff agrees to dismiss the Complaint against all Defendants without prejudice
with each party bearing its own fees, costs, and expenses, and Defendant VA agrees to provide Plaintiff the


                1.2     Notice of Intention to Hold School Liable and Prehearing Conference. As to
the Tuition Debt and the Books and Housing Debt, the parties agree:

                          (a)     Nothing in this settlement shall limit the substantive or procedural
                                  arguments or positions the Parties may assert except:

                                  (i)      VA will not contest the applicability of the School Liability
                                           Process to the Tuition Debt or the Books and Housing Debt; and

                                  (ii)     Plaintiff will not contest the notice provided for the Tuition Debt
                                           or the Books and Housing Debt, or argue that additional notice
                                           needed to be or must be provided under 38 C.F.R. § 21.4009(d)(2)
                                           for the Tuition Debt or the Books and Housing Debt.

                          (b)     The prehearing conference described in 38 C.F.R. § 21.4009(e) is the next
                                                                       e Tuition Debt and the Books and
                                  Housing Debt. The Parties agree that VA will contact Plaintiff no earlier
                                  than fourteen (14) days after the Effective Date, and no later than forty-
                                  five (45) days after the Effective Date, to schedule the prehearing
                                  conference. Exhibit A sets out for each student the amount that VA
                                  contends is owed by Plaintiff with regard to the Tuition Debt. Plaintiff
                                  disputes both the accuracy and legality of these amounts.

                          (c)     VA shall combine the process for recovery of the Tuition Debt with the
                                  process for recovering the Books and Housing Debt. Such combined
                                  process shall start with the prehearing conference referred to in § 1.2(b).

                          (d)     The prehearing conference shall occur on a mutually agreeable date no
                                  later than one hundred (100) days after the Effective Date.

                          (e)     The prehearing conference shall be conducted via video conference.

                1.3     School Liability Process. Plaintiff and VA shall enter into the formal School
Liability Process provided for at 38 U.S.C. § 3685 and set out at 38 C.F.R. § 21.4009 and detailed in VA
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Manual M22-4, Part 1, Chapter 7 (hereinafter re
                                                      e Tuition Debt and/or the Books and Housing Debt.
Without limiting the foregoing, the School Liability Process shall include:

                         (a)      The prehearing conference between Plaintiff and the relevant
                                  representatives from VA to discuss the Initial Decision and the structure,
                                  format, witness list, schedule, and other relevant information for the
                                  Hearing, as discussed in § 1.2.

                         (b)      A hearing before a panel of the CSL in accordance with the rules set forth
                                  in Section 7.10 of the VA Manual. This hearing shall occur on a mutually
                                  agreeable date no later than sixty (60) days after the conclusion of the
                                  prehearing conference referred to in § 1.2. The CSL shall issue a written
                                  decision to Plaintiff in accordance with Section 7.11 of the VA Manual.

                         (c)      Plaintiff shall have sixty (60) da
                                                                                                  SLAB
                                  accordance with Section 7.12 of the VA Manual. Plaintiff may, at its
                                  discretion, seek additional time of up to thirty (30) days to appeal to the
                                  SLAB. VA agrees not to contest such request by Plaintiff for additional
                                  time.

                  1.4      Debt Notices. VA shall withdraw all debt notice and collection referrals for the
Tuition Debt or the Books and Housing Debt to any federal agency, including but not limited to the
Department of Treasury and Bureau of Fiscal Service, and provide proof VA requested such withdrawal to
Plaintiff within thirty (30) days of the signing of this Agreement. VA shall not refer any future debt notices
for the Tuition Debt or the Books and Housing Debt described in Paragraph A above to any agency or third
party for collection until the time for Plaintiff to appeal to the SLAB pursuant to § 1.3(c) has passed without
an appeal being filed or the process set forth in § 1.3 of this Agreement is complete. Nothing in this
provision precludes the VA from instituting collection proceedings for the Tuition Debt or the Books and
Housing Debt based on the decision of the SLAB as provided by 38 C.F.R. § 21.4009(h).

        2.       ADDITIONAL PROVISIONS.

                 2.1
compromise and settlement of disputed claims. Its provisions, and all related drafts, communications and
discussions, cannot be construed as or deemed to be evidence of an admission or concession of any point
of fact or law by any person or entity and cannot be offered or received into evidence or requested in
discovery in this Action or any other action or proceeding as evidence of an admission or concession.

                 2.2      Real Parties in Interest. In executing this Agreement, the Parties warrant and
represent that they are the only persons or entities having any interest in the claims asserted in this Action.
Neither these claims, nor any part of these claims, have been assigned, granted, or transferred in any way
to any other person, firm, or entity.

                2.3     Voluntary Agreement. The Parties executed this Agreement voluntarily and
without duress or undue influence.

                 2.4    Continuing Jurisdiction. The Parties agree that the United States District Court
for the District of Oregon has jurisdiction over an action by either Party to enforce the terms of this
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Settlement Agreement for one hundred-twenty (120) days from the Effective Date or until the prehearing
conference referred to in § 1.2(b) has occurred, whichever is sooner.

                 2.5     Binding on Successors.
successors, assigns, legatees, heirs, and personal representatives.

                 2.6      Parties Represented by Counsel. The Parties acknowledge that: (a) they have
been represented by independent counsel of their own choosing during the negotiation of this Settlement
and the preparation of this Agreement; (b) they have read this Agreement and are fully aware of its contents;
and (c) their respective counsel fully explained to them the Agreement and its legal effect.

                 2.7     Authorization. Each Party warrants and represents that there are no liens or
claims of lien or assignments, in law or equity, against any of the claims or causes of action released by this
Agreement and, further, that each Party is fully entitled and duly authorized to give this complete and final
release and discharge.

                2.8      Entire Agreement. This Agreement contains the entire agreement between the
Parties and constitutes the complete, final, and exclusive embodiment of their agreement with respect to
the Action. This Agreement is executed without reliance on any promise, representation, or warranty by
                                                   those expressly set forth in this Agreement.

                 2.9      Construction and Interpretation.
attorneys shall be deemed the drafter of this Agreement for purposes of interpreting any provision in this
Agreement in any judicial or other proceeding that may arise between them. This Agreement has been, and
must be construed to have been, drafted by all the Parties to it, so that any rule that construes ambiguities
against the drafter shall have no force or effect.

                 2.10    Headings and Formatting of Definitions. The various headings used in this
                                                         may not be used to interpret this Agreement.
Similarly, bolding and italicizing of definitional word
and may not be used to interpret this Agreement. The headings and the formatting of the text in the
definitions do not define, limit, extend, or describe th

               2.11     Modifications and Amendments. No amendment, change, or modification to this
Agreement shall be valid unless in writing signed by the Parties or their counsel.

                2.12     Governing Law. This Agreement is governed by federal law and must be
interpreted under federal law and without regard to conflict of laws principles.

                2.13    Further Assurances. The Parties must execute and deliver any additional papers,
documents and other assurances, and must do any other acts reasonably necessary, to perform their
obligations under this Agreem

                 2.14      Agreement Constitutes a Complete Defense. To the extent permitted by law,
this Agreement may be pled as a full and complete defense to, and may be used as the basis for an injunction
against, any action, suit, or other proceedings that may be instituted, prosecuted, or attempted in breach of
or contrary to this Agreement.

                 2.15    Counterparts. This Agreement may be executed in counterparts, including via
electronic signature, each of which constitutes an original, but all of which together constitute one and the
same instrument. Several signature pages may be collected and annexed to one or more documents to form
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a complete counterpart. Photocopies or PDFs of executed copies of this Settlement Agreement may be
treated as originals.

                 2.16    Recitals. The Recitals are incorporated by this reference and are part of the
Agreement.

                  2.17    Severability. If any provision of this Agreement is declared by the Court to be
invalid, void, or unenforceable, the remaining provisions of this Agreement shall continue in full force and
effect, unless the provision declared to be invalid, void, or unenforceable is material, at which point the
Parties shall attempt in good faith to renegotiate the provision of this Agreement that was declared invalid,
void or unenforceable.

                 2.18   Inadmissibility. This Agreement (whether revoked or made ineffective for any
reason) and any proceedings or discussions related to this Agreement are inadmissible as evidence of any
liability or wrongdoing whatsoever in any Court or tribunal in any state, territory, or jurisdiction, except in
any proceedings concerning construction or enforcement of this Agreement.

                 2.19    References to Numbered Sections. All references to numbered sections made by
                                               sections in this Agreement, unless otherwise specified.

                                 [CONTINUED ON THE NEXT PAGE]
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List of Exhibits: The following exhibit is attached to this Agreement:
         Exhibit A

The Parties have agreed to the terms of this Agreement and have signed below.

Dated:                                           PLAINTIFF CENTRAL OREGON COMMUNITY COLLEGE


                                                 Laurie Chesley
                                                 President
                                                 Central Oregon Community College




Dated: ________________
                                                 Affairs and Dennis McDonough as Secretary of the
                                                 VA

                                                 _________________________________________
                                                 Stephanie Logan
                                                 Deputy Director of Operations and
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                                    EXHIBIT A
Student First Name                      Date of 100                            Date of
                     Current Debt                        Date of Dispute
    Last Initial                          Letter                              Response
AARON R                $8,668.75         3/6/2018           6/12/2018         1/23/2019
ADAM M                $22,212.50         2/23/2018           6/5/2018         1/28/2019
ADAM H                 $9,625.75         2/23/2018           6/5/2018         1/29/2019
ALEX N                $25,300.00         2/27/2018          6/12/2018         1/18/2019
ALEXANDER L            $1,916.25         2/23/2018           6/5/2018         1/28/2019
ANDRE C                $3,335.50         2/6/2018           6/12/2018         1/29/2019
ANDREW W              $19,775.25         3/6/2018           6/12/2018         2/1/2019
ANDREW C                $162.20          2/6/2018           5/30/2018         1/31/2019
ARRON S                 $105.00          3/16/2018          6/12/2018         1/23/2019
AUSTIN W               $3,255.40         3/9/2018           6/12/2018         2/1/2019
BENJAMIN H            $18,964.20         2/16/2018           6/5/2018         1/29/2019
BILLY L               $32,148.00         1/31/2018          6/13/2018         1/28/2019
BLAINE S               $1,540.90         3/16/2018          6/12/2018         1/23/2019
BRACKEN D             $19,148.75         2/9/2018            6/5/2018         2/1/2019
BRANDON M              $2,975.25         2/23/2018           6/5/2018         1/28/2019
BRANDON D               $134.10          2/9/2018            6/5/2018         2/1/2019
BRENT B                $2,515.00         2/6/2018            5/9/2018         1/31/2019
BRIAN T                $5,048.10         3/7/2018           6/12/2018         1/17/2019
BRIANNA B              $5,186.90         3/9/2018            6/5/2018         1/29/2019
BRICE S               $73,386.00         3/14/2018          6/12/2018         1/30/2019
BRYCE B                $4,374.15         2/6/2018            6/7/2018         2/1/2019
CALDER F               $3,667.20         2/16/2018           6/5/2018         1/31/2019
CAMERON L              $5,258.82         3/16/2018          6/13/2018         1/28/2019
CAMERON T             $15,224.16         3/13/2018          6/12/2018         2/1/2019
CAMILO M              $11,465.58         2/23/2018           6/5/2018         1/28/2019
CARLOS S               $4,959.50         3/14/2018          6/13/2018         1/23/2019
CHARLES M             $28,452.95         3/6/2018            6/5/2018         1/28/2019


                     Exhibit A to Settlement Agreement and Release             Page 1 of 7
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Student First Name                       Date of 100                            Date of
                      Current Debt                        Date of Dispute
    Last Initial                           Letter                              Response
CHARLES S              $15,108.50         3/6/2018           6/12/2018         1/23/2019
CHARLES B              $12,339.55         2/6/2018           5/31/2018         2/1/2019
CHRISTOPHER P          $21,505.20         3/9/2018           6/12/2018         1/25/2019
CHRISTOPHER D          $24,481.10         3/9/2018            6/5/2018         2/6/2019
CHRISTOPHER D          $37,541.50         2/9/2018            6/5/2018         2/5/2019
CLINTON S                $265.00          3/14/2018          6/12/2018         1/23/2019
CODY G                  $7,530.50         2/21/2018           6/5/2018         1/29/2019
CONNOR S                $8,652.25         3/14/2018          6/12/2018         1/23/2019
COREY C                  $712.40          2/6/2018           5/30/2018         1/29/2019
COREY G                $59,025.63         2/21/2018          6/13/2018         1/29/2019
CORY P                 $53,645.25         3/9/2018           6/12/2018         1/25/2019
CURTIS C                $1,751.25         2/6/2018           5/10/2018         1/29/2019
DANIEL W               $74,508.25         3/6/2018           6/13/2018         2/1/2019
DANIEL M                $1,406.54         3/16/2018           6/5/2018         1/25/2019
DAVID S                $43,443.60         2/6/2018            6/5/2018         1/17/2019
DAVID G                $29,086.45         2/6/2018            6/5/2018         1/30/2019
DENCIL T                $5,909.50         3/6/2018           6/13/2018         1/30/2019
DENNIS H                $2,748.80         3/16/2018           6/5/2018         1/29/2019
ELI D                   $3,583.75         3/13/2018           6/5/2018         2/6/2019
ELIJAH G               $42,062.35         2/6/2018            6/5/2018         1/29/2019
ELIJAH H               $51,164.42         1/26/2018           6/4/2018         1/29/2019
ERIC R                 $55,455.05         3/16/2018          6/12/2018         1/23/2019
ERIK N                 $15,374.10         2/27/2018          6/12/2018         1/28/2019
ERWIN A                $10,906.75         2/6/2018           4/27/2018         1/30/2019
FITZPATRIC K           $16,863.25         1/30/2018          6/14/2018         1/28/2019
GABRIEL L                $112.00          2/23/2018           6/5/2018         1/28/2019
GALAN C                 $2,970.50         1/24/2018          5/21/2018         1/31/2019
GEORGE U               $15,435.23         3/9/2018           6/12/2018         2/1/2019
GREGORY R               $6,516.27         2/28/2018          6/12/2018         1/25/2019

                      Exhibit A to Settlement Agreement and Release             Page 2 of 7
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Student First Name                      Date of 100                            Date of
                     Current Debt                        Date of Dispute
    Last Initial                          Letter                              Response
HEIDI M               $25,855.08         1/26/2018          4/25/2018         1/28/2019
HUDSON H              $18,633.00         3/16/2018           6/5/2018         1/29/2019
HUNG T                  $950.00          3/9/2018           6/12/2018         2/1/2019
IAN M                 $45,954.35         2/27/2018           6/5/2018         1/25/2019
ISAO Y                $35,185.75         3/6/2018           6/12/2018         2/1/2019
JACK M                $14,960.92         3/6/2018           6/13/2018         1/28/2019
JACOB F               $14,631.75         2/13/2018          6/12/2018         1/19/2019
JACOB G                $8,886.85         2/16/2018           6/5/2018         2/1/2019
JAMES P               $31,048.50         3/9/2018            6/3/2018         1/25/2019
JAMES G                 $435.00          2/23/2018          6/13/2018         2/1/2019
JAMES L               $97,499.00         2/5/2018            6/5/2018         1/30/2019
JARROD D              $67,501.91         2/13/2018           6/5/2018         2/6/2019
JAY H                 $11,142.19         2/22/2018           6/5/2018         1/29/2019
JAY R                 $20,877.87         3/6/2018           6/13/2018         1/25/2019
JAYCOB H              $17,715.75         2/16/2018           6/7/2018         1/29/2019
JEFFREY V              $1,160.00         3/13/2018          6/12/2018         2/4/2019
JEFFREY G             $37,942.22         2/21/2018           6/5/2018         1/29/2019
JEFFREY O              $4,430.00         2/28/2018          6/12/2018         1/25/2019
JENNIFER C            $18,988.48         2/7/2018            6/5/2018         2/6/2019
JENNIFER T             $2,645.72         3/7/2018           6/12/2018         1/30/2019
JEREMY C              $18,466.50         1/26/2018           5/1/2018         1/31/2019
JEREMY J              $20,799.39         2/6/2018           1/15/2020
JERRY G                $9,302.75         2/16/2018           6/5/2018         1/31/2019
JESSE B               $19,618.80         2/6/2018           5/30/2018         2/1/2019
JOBY F                 $3,785.50         2/16/2018           6/5/2018         2/1/2019
JOCLYN M               $4,521.70         3/16/2018           6/5/2018         1/30/2019
JOHN S                $17,136.50         3/16/2018          6/12/2018         1/30/2019
JOHN P                  $669.70          3/16/2018          6/13/2018         1/25/2019


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Student First Name                      Date of 100                            Date of
                     Current Debt                        Date of Dispute
    Last Initial                          Letter                              Response
JOHN B                $45,226.45         2/6/2018           5/31/2018         1/31/2019
JOHN T                 $3,940.00         3/9/2018           6/12/2018         1/30/2019
JONATHAN M            $31,202.45         2/27/2018           6/5/2018         1/25/2019
JORGE C                 $350.00          2/6/2018            6/5/2018         1/29/2019
JOSE C                 $6,996.25         2/9/2018           6/12/2018         2/5/2019
JOSE R                 $4,086.35         2/27/2018          6/13/2018         1/25/2019
JOSEPH T              $23,800.75         3/7/2018           6/13/2018         1/30/2019
JOSEPH M              $24,657.50         3/13/2018           6/5/2018         1/28/2019
JOSEPH S               $9,883.58         3/14/2018          6/12/2018         1/23/2019
JOSHUA B               $1,557.75         2/6/2018            5/9/2018         2/2/2019
JOSHUA F              $23,317.78         2/13/2018           6/5/2018         2/1/2019
JOSHUA H               $5,715.28         6/21/2018          6/14/2018         1/30/2019
JUSTIN A M            $15,287.39         3/12/2018          6/13/2018         1/28/2019
JUSTIN S              $38,658.47         3/13/2018          6/12/2018         2/1/2019
JUSTIN C               $6,244.80         2/6/2018           5/11/2018         1/29/2019
JUSTIN R              $75,525.70         1/31/2018          6/13/2018         1/23/2019
KEELAN G              $19,669.40         3/9/2018            6/5/2018         1/31/2019
KEVIN G               $21,418.92         2/16/2018           6/5/2018         1/29/2019
KEVIN F               $19,163.25         2/16/2018           6/5/2018         1/31/2019
KIRK P                 $5,927.10         2/28/2018          6/12/2018         1/25/2019
KIRSTEN M              $6,938.49         3/13/2018           6/5/2018         1/28/2019
KOBI S                $11,389.25         3/16/2018          6/12/2018         2/1/2019
KYLE G                $12,632.85         3/9/2018            6/5/2018         1/29/2019
KYLE T                $13,723.00         3/7/2018           6/12/2018         1/30/2019
KYLE P                $11,985.25         3/20/2018          6/12/2018         1/25/2019
KYLE K                $18,476.76         2/21/2018           6/5/2018         1/31/2019
LEE C                 $22,864.11         2/7/2018            6/5/2018         1/17/2019
LEVI R                $29,703.30         3/13/2018          6/12/2018         1/23/2019


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Student First Name                      Date of 100                            Date of
                     Current Debt                        Date of Dispute
    Last Initial                          Letter                              Response
LIAM D                 $1,526.00         2/9/2018            6/5/2018         1/30/2019
LORENZO R             $14,486.50         2/28/2018          6/13/2018         1/25/2019
LUKAS G               $13,471.75         2/16/2018          6/13/2018         2/1/2019
LUKE W                  $182.00          3/7/2018           6/12/2018         2/1/2019
MARCUS B                $105.00          2/6/2018           5/11/2018         1/30/2019
MARSHALL N            $42,138.25         3/9/2018           6/12/2018         1/25/2019
MARTIN B               $4,220.34         2/6/2018            6/5/2018         2/1/2019
MATTHEW S             $16,961.20         3/16/2018          6/12/2018         1/23/2019
MATTHEW A             $13,492.69         1/31/2018           6/5/2018         1/17/2019
MATTHEW G              $6,389.15         2/16/2018           6/5/2018         2/1/2019
MAX K                 $30,362.70         3/16/2018          6/14/2018         1/28/2019
MICHAEL N               $70.00           2/28/2018          6/12/2018         1/25/2019
MICHAEL D               $244.40          3/19/2019          1/15/2020
MICHAEL W             $15,261.39         3/9/2018           6/13/2018         2/1/2019
MICHAEL G             $13,853.05         2/16/2018          6/12/2018         2/1/2019
MICHAEL S             $17,448.00         3/16/2018          6/12/2018         1/23/2019
NASH T                  $156.00          3/13/2018          6/12/2018         2/1/2019
NICHOLAS B             $3,286.40         2/6/2018            6/5/2018         1/31/2019
NICHOLAS A             $1,169.25         2/6/2018           5/10/2018         2/1/2019
NOAH U                 $1,381.70         3/7/2018           6/14/2018         2/1/2019
OSCAR V               $19,135.35         3/7/2018           6/12/2018         1/17/2019
PATRICK R             $29,207.42         2/7/2018           6/13/2018         1/23/2019
PAUL G                $13,951.45         2/16/2018           6/5/2018         1/29/2019
PHILIP S               $5,451.40         1/26/2018          4/24/2018         1/23/2019
QUINTEN G              $7,011.96         2/16/2018          6/13/2018         1/29/2019
RANDY S               $28,604.24         3/14/2018          6/14/2018         1/30/2019
REID H                $13,918.75         2/16/2018           6/5/2018         1/29/2019




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Student First Name                      Date of 100                            Date of
                     Current Debt                        Date of Dispute
    Last Initial                          Letter                              Response
RICHARD B               $358.40          2/6/2018            5/9/2018         1/31/2019
ROBERT V               $6,742.00         2/16/2018          6/13/2018         2/4/2019
ROMAN C               $19,237.85         2/7/2018            6/5/2018         1/29/2019
RONALD L              $22,349.40         2/23/2018           6/5/2018         1/28/2019
ROY K                 $14,307.50         2/16/2018           6/5/2018         1/30/2019
RUSSELL S               $250.00          3/14/2018          6/12/2018         1/23/2019
RUSTON Y               $2,361.90         2/27/2018          6/12/2018         1/17/2019
RYAN M                  $673.88          3/16/2018           6/5/2018         1/25/2019
RYAN N                $56,663.14         2/27/2018          6/12/2018         1/25/2019
RYAN L                 $2,925.96         2/23/2018           6/5/2018         1/28/2019
RYEN F                $27,192.40         2/9/2018            6/5/2018         2/1/2019
RYLEE P                 $32.17           2/28/2018          6/12/2018         1/25/2019
SAM M                 $18,155.77         1/24/2018          4/25/2018         1/28/2019
SCOTT L               $10,400.00         2/25/2018          4/20/2018         1/28/2019
SCOTT N               $12,389.82         2/27/2018          6/14/2018         2/25/2019
SEAN G                 $1,032.00         2/15/2018           6/5/2018         1/31/2019
SEAN F                $26,997.50         2/16/2018           6/5/2018         2/1/2019
SEAN R                  $51.50           3/6/2018           6/12/2018         1/25/2019
SEAN K                $29,773.25         2/23/2018           6/5/2018         1/28/2019
SETH J                 $4,243.20         2/23/2018           6/5/2018         1/28/2019
SETH C                $17,234.00         3/16/2018          6/12/2018         1/17/2019
SHEAMUS C              $4,731.64         2/7/2018            6/5/2018         1/29/2019
STACEY G              $10,787.60         2/16/2018           6/5/2018         1/17/2019
STEPHEN H               $105.00          3/9/2018            6/5/2018         1/29/2019
STEVEN C               $1,891.00         2/7/2018           6/14/2018         2/6/2019
STEVEN B              $17,063.00         2/6/2018           5/11/2018         1/31/2019
STEVEN M                $303.50          2/23/2018           6/5/2018         1/28/2019
STEVEN D              $28,268.00         1/26/2018           5/2/2018         2/6/2019


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Student First Name                      Date of 100                            Date of
                     Current Debt                        Date of Dispute
    Last Initial                          Letter                              Response
TAHAM K                $6,310.90         2/21/2018           6/5/2018         1/28/2019
TAYLOR K               $7,036.25         2/21/2018           6/5/2018         1/28/2019
THOMAS R              $19,460.60         3/16/2018          6/27/2018         1/23/2019
THOMAS E              $66,605.40         1/31/2018           6/5/2018         2/1/2019
THOMAS C              $17,020.65         2/7/2018            6/5/2018         1/29/2019
TIMOTHY P               $175.00          2/28/2018          6/12/2018         1/25/2019
TIMOTHY C             $13,662.28         2/6/2018           5/31/2018         1/29/2019
TOAN D                 $1,598.50         2/9/2018            6/5/2018         2/6/2019
TRAVIS B               $5,568.25         1/30/2018          6/12/2018         2/1/2019
TRAVIS K              $26,769.46         2/23/2018           6/5/2018         1/28/2019
TYSON H                $6,870.50         2/16/2018           6/5/2018         1/28/2019
VINCENT H              $8,407.54         2/23/2018           6/5/2018         1/29/2019
WALTER L              $20,798.47         2/23/2018           6/5/2018         1/28/2019
WESLEY F              $28,195.75         2/13/2018           6/5/2018         2/1/2019
WILLIAM B              $9,092.62         2/6/2018            6/5/2018         2/1/2019
WYATT B                $9,707.30         2/6/2018            6/5/2018         1/31/2019
ZACHARY L              $1,529.48         2/21/2018          6/14/2018         1/28/2019
ZIGMUNT S              $6,173.00         3/14/2018          6/14/2018         1/23/2019
                     $2,934,988.13




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